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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


  IN RE                                         Master Docket No.: 3: 12-cv-2389
                                                         (PGS/DEA)
  LIPITOR ANTITRUST
  LITIGATION                                    MEMORANDUM AND ORDER




       This matter is before the Court on an appeal of a discovery order issued by

 the Hon. Douglas E. Arpert, U.S.M.J. dated February 10, 2023 (ECF No. 1161).

 Counsel for the Direct Purchaser Class (Bruce Gerstein, Esq.), End Payors

 (Kenneth Wexier, Esq.), Retailers (Eric Bloom, Esq.), Pfizer (Raj Gandesha, Esq.)

 and Ranbaxy (Alexandra Russell, Esq.) argued the matter on April 10, 2023 during

 a telephonic hearing.

                                           I.

       On June 23, 2022, Judge Arpert issued a scheduling order (ECF No. 1085)

 that terminated a stay of discovery, and ordered that discovery “limited to the

 issues of causation and class certification” shall proceed (hereinafter “Order

 1085”). Order 1085 detailed a schedule in which Plaintiffs were to serve “expert

 disclosures and reports” on causation and class certification, followed by

 Defendants’ “expert disclosures and rebuttal reports.” Order 1085 focused on the

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 causation and class certification issues because the parties failed to successfully

 engage in mediation while these issues were outstanding. Order 1085 also alerted

 the parties that discovery should be completed expeditiously and substantive issues

 be addressed on a timely basis.

        Order 1085 was appealed to this Court for various reasons in the early fall of

 last year; but Plaintiffs failed to object to the fact that Order 1085 did not provide

 for rebuttal expert reports. (ECF No. 1103 and 1124).

        On January 31, 2023, the parties submitted to the Court a joint letter wherein

 Plaintiffs sought to amend the June 2022 scheduling order to provide leave to serve

 rebuttal expert reports “as early as this week” [week ending February 3, 2023].

 The Defendants opposed the request (ECF No. 1158). Plaintiffs’ request was

 denied in an amended scheduling order dated February 10, 2023. (ECF No. 1161)

 (hereinafter Order 1161). Pursuant to Order 1161, a schedule for the filing of

 motions was enumerated, and rebuttal expert reports were denied. Plaintiffs

 appealed.

                                              II.

       In federal litigation, magistrate judges have the authority to handle non

 dispositive matters, 28 U.S.C.   §   636(b)(l)(A); Fed R. Civ. P. 72(a), including

 discovery disputes. A party may appeal a magistrate judge’ s decision regarding a

 non-dispositive issue to the district judge. Fed R. Civ. P. 72(a). Litigants are only


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 entitled to appeal a magistrate judge’s decision until fourteen days after the

 decision, Fed. R. Civ. P. 72(a)(2), but a district court has discretion to consider the

 merits thereafter. 12 Charles Alan Wright, Arthur R. Miller & Richard L. Marcus,

 Federal Practice and Procedure: Civil 2d    § 3069 (3d ed. 2014).
        Decisions adjudicating discovery disputes are reviewed for “abuse of

 discretion.” An]elino v. New York Times Co., 200 F.3d 173, 88 (3d Cir. 1999);

 Allen v. Banner Life Ins. Co., 340 F.R.D. 232, 237 (D.N.J. 2022); 12 Wright, et al.,

 Federal Practice and Procedure: Civil 2d   § 3069. “An abuse of discretion is a clear
 error ofjudgment, and not simply a different result which can arguably be obtained

 when applying the law to the facts of the case.” Tracinda Corp. v.

 DaimlerChrysler AG, 502 F. 3d 212, 240 (3d Cir. 2007). More specifically, an

 abuse of discretion is a decision “based on an incorrect legal standard or clearly

 erroneous factual findings.” Id.

       Management of the discovery process by a magistrate is entitled to great

 deference in order to administer justice efficiently and fairly. See Kresejky v.

 Panasonic Communications & Sys. Co., 169 F.R.D. 54, 64 (D.N.J. 1996).

 Plaintiffs failed to object to Order 1085 for not providing for rebuttal reports last

 fall. An appeal on that matter should have occurred at that time, but that did not

 happen. In addition, managing the time limits of discovery issue is essential. As




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 such, Plaintiffs have failed to show that Judge Arpert’s denial was an abuse of

 discretion.

                                           III.

       The matter should have ended here; but in my role to decide upcoming

 motions for summary judgment and. class certification, a firm grasp of all the facts

 is necessary in rendering a fair decision. Moreover, this litigation has been ongoing

 for about 11 years, and a relatively short delay is not significant when considering

 the overall length of the litigation. As such, rebuttal reports shall be considered.

 Since rebuttal reports have been permitted on a fairness basis, then Defendants

 have a right to depose those experts on the content of the rebuttal reports in order

 to develop a fair record. Fed. R. Civ. P. 1. An Order implementing the above is

 set forth below.

                                  ORDER

       Whereas the Direct Purchasers filed a motion (ECF No. 1170) seeking leave

 to submit rebuttal expert reports by Kurt R. Karst, Esq. and Jeffrey J. Leitzinger,

 Ph.D.; and

       Whereas Cohn Lifland withdraw part of their motion (ECF No. 1170)

 concerning Kurt R. Karst, Esq. who did not wish to be deposed; and


       Whereas this Order resolves the motion (ECF No. 1170), and also the end

 payor Plaintiffs who informally joined in the motion;

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       IT IS on this 13t1 day of April, 2023;

       ORDERED:

       1)      The motion (ECF No. 1170) is granted in part regarding Jeffrey J.

 Leitzinger, Ph.D.’s rebuttal report and denied in part regarding Kurt R. Karst, Esq.;

       2)      Submission of rebuttal expert reports by End-Payor Plaintiffs is

 granted;

       3)      The motions are scheduled in accordance with Schedule A (attached

 hereto) and

       4)      Defendants may depose such experts on the substance of the rebuttal

 reports at a convenient place and on a timely basis (see Schedule A);

       5)      Any disputes or logistic issues that may arise from this Order shall be

 addressed to the Hon. Douglas Arpert, U.S.M.J.




                                                PETER G. SHERIDAN, U.S.D.J.




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                                  SCHEDULE A


       Causation (Direct Purchasers):   —   No change.

             Plaintiffs’ Opposition                 Due by May 1, 2023
             Defendants’ Reply                      Due by May 22, 2023
             Oral Argument by telephone             June 7, 2023 at 1:00 p.m.
             *Oral argument is limited to attorneys who submitted briefs.


       Class Certification (Direct Purchasers):

             Rebuttal report of Leitzinger          Has been served
             Deposition of Leitzinger               on or before May 1, 2023
             Motion by Plaintiff                    May 5, 2023
             Defendants’ Opposition                 June 5, 2023
             Plaintiffs’ Reply                      June 26, 2023
             Oral Argument by telephone             July 5, 2023 at 1 p.m.
             *Oral argument is limited to attorneys who submitted briefs.


       Causation (End Payors)

             Service of Rebuttal Report             April 17, 2023
             Deposition of Expert
             (in Defendant’s discretion)            On or before May 5, 2023
             Defendants’ supplemental brief:        May 19, 2023
             Plaintiffs’ Opposition                 June 1, 2023
             Defendants’ Reply                      June 15, 2023
             Oral argument by telephone             July 19, 2023 at 1 p.m.
             *Oral argument is limited to attorneys who submitted briefs.




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       Class Certification (End Payors)

             Service of Rebuttal Report             April 17, 2023
             Deposition of Expert
             (in Defendant’s discretion)            May 12, 2023
             Plaintiffs’ Motion                     May 19, 2023
             Defendants’ Opposition                 June 12, 2023
             Plaintiff Reply                        June 26, 2023
             Oral argument by telephone             August 2, 2023 at 1 p.m.
             *Oral argument is limited to attorneys who submitted briefs.




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